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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

STATE OF TEXAS,                       )
GUN OWNERS OF AMERICA, INC.,          )
GUN OWNERS FOUNDATION, and            )
BRADY BROWN,                          )
                                      )                   Case No. 6:23-cv-00013
   Plaintiffs,                        )
                                      )                   (Assigned to Hon. Drew B. Tipton)
       v.                             )
                                      )
BUREAU OF ALCOHOL, TOBACCO,           )
FIREARMS AND EXPLOSIVES, UNITED )
STATES DEPARTMENT OF JUSTICE, and )
STEVEN M. DETTELBACH in his official  )
capacity AS THE DIRECTOR OF ATF,      )
                                      )
   Defendants.                        )
                                      )
_____________________________________ )


                           NOTICE OF APPEARANCE OF COUNSEL

       Please take notice that Anthony R. Napolitano, of Bergin Frakes Smalley & Oberholtzer

PLLC, hereby enters their appearance on behalf of Plaintiff Gun Owners of America, Inc., Gun

Owners Foundation, and Brady Brown. Please send future notices and correspondence addressed

to the Plaintiffs to the following address:

                                          Anthony R. Napolitano
                                Bergin Frakes Smalley & Oberholzer PLLC
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                                         Phoenix, Arizona 85018
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     Case 6:23-cv-00013 Document 13 Filed on 02/27/23 in TXSD Page 2 of 2




Respectfully submitted,

/s/Anthony R. Napolitano
Anthony R. Napolitano
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                                CERTIFICATE OF SERVICE


       On this 27th day of February, 2023, the foregoing was filed with the Southern District of
Texas Court Clerk’s Office using the CM/ECF System for filing, which will provide a Notice of
Electronic Filing to all CM/ECF registrants.


By: /s/ Shelly Curry
